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 1   THOMAS A. JOHNSON, #119203
     KRISTY M. Kellogg, #271250
 2   Law Office of Thomas A. Johnson
     400 Capitol Mall, Suite 1620
 3
     Sacramento, California 95814
 4   Telephone: (916) 422-4022
     Attorneys for Gregory Baker
 5
 6
                          IN THE UNITED STATES DISTRICT COURT
 7
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,                   ) Case No.: 2:12-cr-00294-TLN
                                                 )
11                Plaintiff,                     ) ORDER FOR EXONERATING THE
                                                 ) BOND
12         vs.                                   )
                                                 )
13   GREGORY BAKER,                              )
                                                 )
14                Defendant.                     )
                                                 )
15
16
                        REQUEST TO EXONERATE THE BOND
17                    FOR THE WINTERHAVEN DRIVE PROPERTY
18
19         In August of 2012, Mr. Baker’s sister, Audra Baker, posted two properties to

20   satisfy the $100,000 property bond: one, a property located at 3624 Karl Drive in

21   Sacramento, California, 95660, and the other, a property located at 426 Winterhaven

22   Avenue in Sacramento, California, 95833. Since the property bonds were posted, the

23   values of the properties increased and the Karl Drive property was exonerated in

24   September of 2015.

25         On May 26, 2016, Defendant, Gregory Baker, was sentenced. On August 2, 2016,

26   Mr. Baker turned himself into the Bureau of Prison. Therefore, it is hereby requested that

27   the secured appearance bond be exonerated for the property at 426 Winterhaven Avenue

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 1   in Sacramento, California, 95833, and that the Clerk of the District Court be directed to
 2   re-convey the property to the sureties, Audra Baker and Laine Kellener.
 3
 4
     DATED: August 4, 2016                     Respectfully submitted,
 5
 6                                             /s/ Thomas A. Johnson
                                               THOMAS A. JOHNSON
 7
                                               Attorney for Gregory Baker
 8
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11
12
13                                            ORDER
14
15          IT IS SO ORDERED that the appearance bond secured by a Deed of Trust
16   against the real property of Audra Baker and Laine Kellener located at 426 Winterhaven
17   Avenue in Sacramento, California, 95833, is hereby exonerated. The Clerk of the Court is
18   directed to re-convey the property back to the owners.
19
20   Dated: August 8, 2016
21
22
23                                                                 Troy L. Nunley
24                                                                 United States District Judge

25
26
27
28



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